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                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                                BILLINGS DIVISION



 UNITED STATES OF AMERICA,                     Cause No. CR 16-30-BLG-SPW


              Plaintiff/Respondent,

       vs.                                                  ORDER


 MATTHEW STONEY OLSON,

              Defendant/Movant.



      This case comes before the Court on Defendant/Movant Matthew Stoney

Olson's motion to vacate, set aside, or correct his sentence, pursuant to 28 U.S.C. §

2255. Olson is a federal prisoner proceeding pro se.

      One of Olson's claims alleges that counsel retained and should have called a

forensic computer analyst at trial. The record ofthe case does not show whether

trial counsel. Assistant Federal Defender Mark Werner, obtained a report or

considered calling an expert.

      Rather than revealing privileged communications to the United States at this

stage, the Court will require defense counsel to produce, under seal and ex parte,

all materials in his file related to any computer expert retained by him or by

previous counsel. Counsel shall also file an affidavit, either his own or that of

someone in his office with personal knowledge of the matter, explaining what was
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